Case 3:23-cv-00155   Document 55-9   Filed on 12/12/24 in TXSD   Page 1 of 5




                          Exhibit I
Case 3:23-cv-00155   Document 55-9   Filed on 12/12/24 in TXSD   Page 2 of 5
                 Case 3:23-cv-00155
12/11/24, 12:34 PM                              Document 55-9    Filed- USPS
                                                            USPS.com®   on 12/12/24     in TXSD
                                                                             Tracking® Results                 Page 3 of 5
        ALERT: EFFECTIVE NOVEMBER 29, 2024, INTERNATIONAL MAIL SERVICE TO CANADA IS TEM…



   USPS Tracking
                                            ®                                                                                FAQs 




                                                                                                                           Remove 
   Tracking Number:

   9589071052701280751986
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




         Latest Update
         Your item was delivered to an individual at the address at 11:58 am on October 19, 2024 in
         WASHINGTON, DC 20001.




                                                                                                                                  Feedback
         Get More Out of USPS Tracking:
              USPS Tracking Plus®


          Delivered
          Delivered, Left with Individual
          WASHINGTON, DC 20001
          October 19, 2024, 11:58 am


          Out for Delivery
          WASHINGTON, DC 20001
          October 19, 2024, 8:26 am


          Arrived at Post Office
          WASHINGTON, DC 20018
          October 19, 2024, 8:15 am


          Arrived at USPS Regional Facility
          WASHINGTON DC DISTRIBUTION CENTER
          October 19, 2024, 3:17 am


          Departed USPS Regional Facility
          MERRIFIELD VA DISTRIBUTION CENTER


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701280751986%2C&tABt=false                     1/2
                 Case 3:23-cv-00155
12/11/24, 12:34 PM                            Document 55-9    Filed- USPS
                                                          USPS.com®   on 12/12/24     in TXSD
                                                                           Tracking® Results                   Page 4 of 5
          October 19, 2024, 2:34 am


          Arrived at USPS Regional Facility
          MERRIFIELD VA DISTRIBUTION CENTER
          October 18, 2024, 3:03 pm


          Departed USPS Facility
          ARLINGTON, VA 22201
          October 18, 2024, 2:08 pm


          USPS in possession of item
          ARLINGTON, VA 22201
          October 18, 2024, 12:20 pm


          Hide Tracking History



     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                             
       Text & Email Updates


                                                                                                                             
       USPS Tracking Plus®


                                                                                                                             
       Product Information


                                                              See Less 

   Track Another Package


      Enter tracking or barcode numbers




                                                    Need More Help?
                                  Contact USPS Tracking support for further assistance.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052701280751986%2C&tABt=false         2/2
Case 3:23-cv-00155   Document 55-9   Filed on 12/12/24 in TXSD   Page 5 of 5
